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 6   ARTHUR RENOWITZKY
 7
                                  UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10
      ARTHUR RENOWITZKY,                              CASE NO.
11                                                    Civil Rights
             Plaintiff,
12                                                    COMPLAINT FOR PRELIMINARY AND
             v.                                       PERMANENT INJUNCTIVE RELIEF AND
13                                                    DAMAGES: DENIAL OF CIVIL RIGHTS
      THE GOOD YEAR TIRE & RUBBER                     AND ACCESS TO PUBLIC FACILITIES TO
14    COMPANY; CHARLES THOMAS, II;                    PHYSICALLY DISABLED PERSONS, PER
      CHRISTINE SCHAAF, PETER THOMAS                  FEDERAL AND CALIFORNIA STATUTES
15                                                    (including CIVIL CODE §§ 51, 52, 54, 54.1,
                                                      54.3 and 55; and HEALTH & SAFETY CODE
16           Defendants.                              §§ 19953 et seq.); INJUNCTIVE RELIEF PER
                                                      TITLE III, AMERICANS WITH
17                                                    DISABILITIES ACT OF 1990 (including 42
                                                      USC §§ 12181 et seq.)
18
                                                      DEMAND FOR JURY TRIAL
19

20          Plaintiff ARTHUR RENOWITZKY complains of Defendants THE GOOD YEAR TIRE

21   & RUBBER COMPANY; CHARLES THOMAS, II; CHRISTINE SCHAAF; PETER THOMAS

22   and each of them, and alleges as follows:

23          1.      INTRODUCTION: Defendants denied Plaintiff ARTHUR RENOWITZKY an

24   accessible restroom and service counter at the Good Year Tire, located at 15498 East 14 th Street,

25   San Leandro, California. On April 20, 2022, Plaintiff entered the Good Year Tire store to discuss

26   getting a tire repaired for his partner’s car because he has frequented this Good Year a number of

27   times in the past in the past and received good service. He asked to use the restroom while he

28   was there and was told it was down a hall in the back. When approached the restroom, however,
                                                       1
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 1   he discovered that he was unable to get his wheelchair into the restroom, pull his wheelchair

 2   under the sink, or reach the features such as the soap dispenser in the restroom. Due to his urgent

 3   need to use the restroom, Plaintiff was forced to quickly change his catheter with the door open

 4   while passersby could see him. Humiliated, Plaintiff left. Later plaintiff learned he had

 5   experienced a personal injury from his haste in changing the catheter. He knew of this injury

 6   because he could see blood in his urine bag when he subsequently changed his catheter again

 7   later.

 8            2.    Defendants denied disabled Plaintiff ARTHUR RENOWITZKY accessible public

 9   facilities at Good Year Tire in San Leandro. Plaintiff ARTHUR RENOWITZKY is a “person

10   with a disability” or “physically handicapped person” who requires the use of a wheelchair for

11   mobility. He is unable to use portions of public facilities which are not accessible to mobility

12   disabled persons. On or about April 20, 2022, Plaintiff was denied his rights to full and equal

13   access at Good Year Tire store. He was denied his civil rights under both California law and

14   federal law, and continues to have his rights denied, because these facilities were not, and are not

15   now, properly accessible to physically disabled persons, including those who use a wheelchair or

16   other assistive devices for mobility.

17            3.    Plaintiff seeks injunctive relief to require Defendants to make these facilities

18   accessible to disabled persons and to ensure that any disabled person who attempts to patronize

19   the subject premises will be provided accessible facilities. Plaintiff also seeks recovery of

20   damages for his discriminatory experiences and denial of access and of civil rights, which denial

21   is continuing as a result of Defendants’ failure to provide disabled accessible facilities. Plaintiff

22   also seeks recovery of reasonable statutory attorney fees, litigation expenses and costs, under

23   federal and state law.

24            4.    JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC

25   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC

26   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action

27   arising from the same facts are also brought under California law, including but not limited to

28   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,
                                                         2
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 1   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building

 2   Code.

 3           5.      VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is

 4   founded on the fact that the real property which is the subject of this action is located in this

 5   district and that Plaintiff’s causes of action arose in this district.

 6           6.      INTRADISTRICT: This case should be assigned to the Oakland intradistrict as

 7   the real property which is the subject of this action is located in this intradistrict and Plaintiff’s

 8   causes of action arose in this intradistrict.

 9           7.      PARTIES: Plaintiff is a qualified physically disabled person who cannot walk

10   due to paraplegia and who requires use of a wheelchair for locomotion. He also owns a disabled

11   licensed vehicle which entitles him to park in a properly configured disabled accessible parking

12   space. He has been issued a California state placard for disabled parking.

13           8.      Defendants THE GOOD YEAR TIRE & RUBBER COMPANY; CHARLES

14   THOMAS, II; CHRISTINE SCHAAF; PETER THOMAS are and were the owners, operators,

15   lessors and/or lessees of the subject business, property and buildings at all times relevant to this

16   Complaint. Plaintiff is informed and believes that each of the Defendants herein is the agent,

17   employee or representative of each of the other Defendants, and performed all acts and omissions

18   stated herein within the scope of such agency or employment or representative capacity and is

19   responsible in some manner for the acts and omissions of the other Defendants in proximately

20   causing the damages complained of herein.

21           9.      Good Year Tire is a place of “public accommodation” and “business

22   establishment” subject to the requirements of 42 USC section 12181(7)(B) of the Americans with

23   Disabilities Act of 1990; of California Health & Safety Code sections 19953 et seq.; of California

24   Civil Code sections 51 et seq.; and of California Civil Code sections 54 et seq. On information

25   and belief, the Good Year Tire store and its facilities were built after July 1, 1970, and since then

26   have undergone construction and/or “alterations, structural repairs, or additions,” subjecting each

27   such facility to disabled access requirements per Health & Safety Code sections 19953-19959 et

28   seq., and, as to construction and/or alterations since January 26, 1993, to the disabled access
                                                           3
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 1   requirements of section 12183 of the Americans with Disabilities Act of 1990. Such facilities

 2   constructed or altered since 1982 are also subject to “Title 24,” the California State Architect’s

 3   Regulations, also known as the California Building Code. Further, irrespective of the alteration

 4   history, such premises are subject to the “readily achievable” barrier removal requirements of

 5   Title III of the Americans with Disabilities Act of 1990, as defined by the ADA. 42 USC §

 6   12181(9).
                                  FIRST CAUSE OF ACTION:
 7                              DAMAGES AND INJUNCTIVE RELIEF
             FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
 8                                  PUBLIC ACCOMMODATION
                (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
 9

10           10.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

11   the factual allegations contained in Paragraphs 1 through 9, above, and incorporates them herein

12   by reference as if separately repled hereafter.

13           11.     Plaintiff ARTHUR RENOWITZKY and other similarly situated physically

14   disabled persons, including those who require the use of an assistive device for mobility, are

15   unable to use public facilities on a “full and equal” basis unless each such facility is in

16   compliance with the provisions of California Health & Safety Code sections 19953 -19959.

17   Plaintiff is a member of that portion of the public whose rights are protected by the provisions of

18   Health & Safety Code sections 19953 et seq. Further, Plaintiff is also protected against policy

19   and architectural barrier discrimination by California Civil Code sections 54 and 54.1, the

20   “Disabled Persons Act.” “Individuals with disabilities or medical conditions have the same right

21   as the general public to the full and free use of the streets, highways, sidewalks, walkways, public

22   buildings, medical facilities, including hospitals, clinics, and physicians’ offices, public facilities,

23   and other public places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be

24   entitled to full and equal access, as other members of the general public, to accommodations,

25   advantages, facilities, . . . places of public accommodation, amusement, or resort, and other places

26   to which the general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the

27   ADA, including but not limited to any violation of 42 USC sections 12182 and 12183, is also

28   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).
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 1          12.     Title 24, California Code of Regulations, formerly known as the California

 2   Administrative Code and now also known as the California Building Code, was in effect at the

 3   time of each alteration which, on information and belief, occurred at such public facility since

 4   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

 5   each such “alteration, structural repair or addition” was carried out. On information and belief,

 6   Defendants and/or their predecessors in interest carried out new construction and/or alterations,

 7   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has

 8   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,

 9   structural repairs, and/or additions which triggered access requirements at all relevant portions

10   Good Year Tire, also occurred between July 1, 1970, and December 31, 1981, and required

11   access pursuant to the A.S.A. (American Standards Association) Regulations then in effect,

12   pursuant to the incorporated provisions of California Government Code sections 4450 et seq.

13   Further, on information and belief, additions to the building after the initial construction also

14   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section

15   19959. Alterations or additions after January 26, 1993 trigger ADA liability and requirements per

16   42 USC sections 12182 and 12183 of the ADA.

17          13.     FACTUAL STATEMENT: Plaintiff Arthur Renowitzky founded the Life Goes

18   on Foundation in 2008, “a non-political, non-profit organization,” created to “provide [spinal cord

19   injury] survivors and their families with support to aid in the life-long process towards recovery.”

20   See https://www.lgof.org/about_us . The Life Goes on Foundation works “nationally to advance

21   the personal independence and wellness of individuals living with disabilities.” Plaintiff prides

22   himself on not just his independence but on empowering other disabled persons, including

23   coaching for the Junior Warriors children’s wheelchair basketball team. A news report video

24   depicting the charity work that Plaintiff has done and his interactions with several NBA Warriors

25   players can be seen here: https://abc7news.com/community-events/paralyzed-dubs-fan-inspires-

26   community-and-the-warriors/5264759/.

27          14.     Plaintiff is a disabled person resulting from a spinal cord injury that he suffered

28   because of a random act of gun violence by a stranger in 2008. His spinal cord between the T2
                                                         5
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 1   and T3 vertebrae is severed. He has no feeling from his chest downward, and is unable to walk or

 2   climb stairs. He uses a manual wheelchair and has good upper body strength from working out

 3   and playing wheelchair basketball. His body signals to him when he needs to relieve himself,

 4   including warmth in his stomach, twitching, and sweating. Plaintiff has learned to interpret these

 5   signals and must use the restroom within 5 to 10 minutes of noticing them to avoid experiencing a

 6   bodily functions accident. He relies on businesses and other public places providing accessible

 7   restroom facilities so that he can carry out these functions in a regular and timely manner.

 8          15.     On April 20, 2022, Plaintiff’s girlfriend discovered that her car had a flat tire due

 9   to a nail puncture. She asked Plaintiff to assist her in pricing either a new tire or repairing the

10   existing tire. Plaintiff had been to the Good Year Tire located at 15498 East 14 th Street, San

11   Leandro, California, previously, and he new that they did good work and had competitive pricing.

12   He decided to start his inquiry at that shop.

13          16.     Plaintiff and his brother drove to the Good Year Tire. Plaintiff parked in the

14   designated accessible parking spaces, and his brother assisted him in getting his wheelchair out of

15   the car and transferring. They entered the store and approached the counter to discuss options and

16   pricing with the sales representative. There was no lowered section of the counter. This made the

17   interaction with the store’s employee difficult and uncomfortable for Plaintiff because he had to

18   look up and over the counter to see the employee rather than just looking straight across a

19   counter.

20          17.     After explaining the situation to the store employee, another customer entered the

21   store and the employee excused himself for a moment to greet the new customer. Plaintiff then

22   recognized that his body was signaling him that he needed to use the restroom. He asked the

23   store employee if he could use the restroom, and the employee directed him to go down a hallway

24   to get to the store’s restroom.

25          18.     Plaintiff pushed himself down a very narrow hallway towards the restroom. He

26   approached the door to the restroom and opened the door. He saw that the restroom was very

27   small and had a very narrow entry door. Plaintiff squeezed through the entrance, but he was

28   unable to close the door behind him due to the small size of the room. Plaintiff absolutely had to
                                                         6
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 1   use the restroom to avoid having a bodily functions accident, so he made the difficult choice to

 2   change his catheter while leaving the restroom door open and forgoing the privacy that able-

 3   bodied store patrons would enjoy while carrying out such a private function.

 4           19.     While Plaintiff was in the restroom, he heard the footsteps of another customer or

 5   employee approaching the restroom. Plaintiff did not want to be seen using the restroom by a

 6   complete stranger, so he rushed to finish catheterizing and disposing of this urine. Unfortunately,

 7   in his rush to finish using the restroom, he caused himself an injury which resulted in blood in his

 8   urine later that day.

 9           20.     Once he finished catheterizing, Plaintiff approached the sink to wash his hands,

10   but he was unable to roll under the sink because there was a cabinet under the sink. He also could

11   not reach the soap dispenser because it was too high. It is extremely important for Plaintiff to

12   keep himself and his hand clean because he is susceptible to infections if he does not when

13   changing his catheter. He did his best to clean himself up with hand sanitizer that he carries with

14   him, but hand sanitizer is no substitute for soap and hot water.

15           21.     When he was finished using the restroom, Plaintiff found his brother in the shop

16   and told him that he needed to go home to clean up. Plaintiff and his brother left the shop.

17           22.     Defendants have failed to provide an accessible restroom. To the extent that they

18   could not make their restroom fully accessible because to do so was not readily achievable, they

19   failed to provide any alternate methods of providing restrooms access, such as providing a

20   portable toilet in Defendants large parking lot where Plaintiff and other disabled persons could

21   access the restroom.

22           23.     The above referenced barriers to access are listed without prejudice to Plaintiff

23   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access

24   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.

25   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.

26   2011). All of these barriers to access render the premises inaccessible to physically disabled

27   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter

28   when he returns to the premises. All facilities must be brought into compliance with all
                                                         7
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 1   applicable federal and state code requirements, according to proof.

 2           24.     Further, each and every violation of the Americans with Disabilities Act of 1990

 3   also constitutes a separate and distinct violation of California Civil Code section 54(c) and

 4   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to

 5   California law, including but not limited to Civil Code sections 54.3 and 55.

 6           25.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and

 7   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and

 8   which have the effect of wrongfully excluding Plaintiff and other members of the public who are

 9   physically disabled from full and equal access to these public facilities. Such acts and omissions

10   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions

11   continue to treat Plaintiff as an inferior and second-class citizen and serve to discriminate against

12   him on the sole basis that he is a person with disabilities who requires the use of a wheelchair or

13   other assistive device for movement in public places.

14           26.     Plaintiff is deterred from returning to use these facilities, because the lack of

15   access will foreseeably cause him further difficulty, discomfort and embarrassment, and Plaintiff

16   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to

17   and use of these public facilities. Therefore, Plaintiff cannot return to patronize the Good Year

18   Tire and its facilities and is deterred from further patronage until these facilities are made

19   properly accessible for disabled persons, including Plaintiff and other mobility disabled persons.

20   Plaintiff specifically intends to return and patronize Good Year Tire once it is made accessible,

21   including its path of travel to the restroom.

22           27.     The acts of Defendants have proximately caused and will continue to cause

23   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to

24   all inaccessible areas of the premises that he has personally encountered, and, as to all areas

25   identified during this litigation by Plaintiff’s access consultant, that he or other physically

26   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.

27   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs

28   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to those of the Defendants that currently own,
                                                         8
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 1   operate, and/or lease (from or to) the subject premises, Plaintiff seeks preliminary and permanent

 2   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full

 3   and equal access for disabled persons, and for reasonable statutory attorney fees, litigation

 4   expenses and costs.

 5          28.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any

 6   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways

 7   complained of and to require Defendants to comply forthwith with the applicable statutory

 8   requirements relating to access for disabled persons. Such injunctive relief is provided by

 9   California Health & Safety Code section 19953 and California Civil Code section 55, and other

10   law. Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3

11   and other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code

12   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other

13   law, all as hereinafter prayed for.

14          29.     DAMAGES: As a result of the denial of full and equal access to the described

15   facilities and due to the acts and omissions of Defendants and each of them in owning, operating,

16   leasing, constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a

17   violation of his civil rights, including but not limited to rights under Civil Code sections 54 and

18   54.1, and has suffered difficulty, discomfort and embarrassment, and physical, mental and

19   emotional personal injuries, all to his damages per Civil Code section 54.3, including general and

20   statutory damages, as hereinafter stated. Defendants’ actions and omissions to act constitute

21   discrimination against Plaintiff on the basis that he was and is physically disabled and unable,

22   because of the architectural and other barriers created and/or maintained by the Defendants in

23   violation of the subject laws, to use the public facilities on a full and equal basis as other persons.

24   These violations have deterred Plaintiff from returning to attempt to patronize Good Year Tire

25   and will continue to cause him damages each day these barriers to access continue to be present.

26   Plaintiff to intends to return Good Year Tire one the premises has been made accessible for his

27   full and equal enjoyment.

28          30.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,
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 1   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by

 2   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access

 3   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

 4   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the

 5   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section

 6   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make their

 7   facilities accessible to all disabled members of the public, justifying “public interest” attorney

 8   fees, litigation expenses and costs pursuant to the provisions of California Code of Civil

 9   Procedure section 1021.5 and other applicable law.

10           WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.

11                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
12      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                  INCORPORATED
13                          BY CIVIL CODE SECTION 51(f)
14           31.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the

15   factual allegations contained in Paragraphs 1 through 30 of this Complaint and incorporates them

16   herein as if separately re-pleaded.

17           32.     At all times relevant to this complaint, California Civil Code section 51 has

18   provided that physically disabled persons are free and equal citizens of the state, regardless of

19   medical condition or disability:

20           All persons within the jurisdiction of this state are free and equal, and no matter
             what their sex, race, color, religion, ancestry, national origin, disability, or medical
21           condition are entitled to the full and equal accommodations, advantages, facilities,
             privileges, or services in all business establishments of every kind whatsoever.
22

23   Civil Code § 51(b). [Emphasis added.]
24           33.     California Civil Code section 52 provides that the discrimination by Defendants

25   against Plaintiff on the basis of his disability constitutes a violation of the general anti-

26   discrimination provisions of sections 51 and 52.

27           34.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

28   distinct violation of California Civil Code section 52, which provides that:
                                                         10
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 1             Whoever denies, aids or incites a denial, or makes any discrimination or distinction
               contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
 2             actual damages, and any amount that may be determined by a jury, or a court sitting
               without a jury, up to a maximum of three times the amount of actual damage but in
 3             no case less than four thousand dollars ($4,000), and any attorney’s fees that may
               be determined by the court in addition thereto, suffered by any person denied the
 4             rights provided in Section 51, 51.5, or 51.6.

 5             35.    Any violation of the Americans with Disabilities Act of 1990 also constitutes a

 6   violation of California Civil Code section 51(f), thus independently justifying an award of

 7   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per

 8   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

 9   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

10             36.    The actions and omissions of Defendants as herein alleged constitute a denial of

11   access to and use of the described public facilities by physically disabled persons within the

12   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

13   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

14   sections 51 and 52, and are responsible for statutory, and compensatory damages to Plaintiff,

15   according to proof.

16             37.    FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

17   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

18   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

19   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

20   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

21   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

22   intended to require that Defendants make their facilities and policies accessible to all disabled

23   members of the public, justifying “public interest” attorney fees, litigation expenses and costs

24   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other

25   applicable law.

26                    WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter

27   stated.

28   //
                                                         11
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
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 1
                               THIRD CAUSE OF ACTION:
 2           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
                                  42 USC §§ 12101 et seq
 3
            38.     Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,
 4
     the allegations contained in Paragraphs 1 through 37of this Complaint and incorporates them
 5
     herein as if separately re-pleaded.
 6
            39.     In 1990 the United States Congress made findings that laws were needed to more
 7
     fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”
 8
     that “historically, society has tended to isolate and segregate individuals with disabilities;” that
 9
     “such forms of discrimination against individuals with disabilities continue to be a serious and
10
     pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities
11
     are to assure equality of opportunity, full participation, independent living, and economic self-
12
     sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary
13
     discrimination and prejudice denies people with disabilities the opportunity to compete on an
14
     equal basis and to pursue those opportunities for which our free society is justifiably famous...”
15
     42 U.S.C. §12101.
16
            40.     Plaintiff is a qualified individual with a disability as defined in the Rehabilitation
17
     Act and in the Americans with Disabilities Act of 1990.
18
            41.     In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),
19
     Congress stated as its purpose:
20
            It is the purpose of this Act
21
            (1) to provide a clear and comprehensive national mandate for the elimination of
22          discrimination against individuals with disabilities;

23          (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
            against individuals with disabilities;
24
            (3) to ensure that the Federal Government plays a central role in enforcing the standards
25          established in this Act on behalf of individuals with disabilities; and

26          (4) to invoke the sweep of congressional authority, including the power to enforce the
            fourteenth amendment and to regulate commerce, in order to address the major areas of
27          discrimination faced day-to-day by people with disabilities.

28   42 USC § 12101(b).
                                                        12
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 1           42.     As part of the ADA, Congress passed “Title III - Public Accommodations and

 2   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

 3   facility is one of the “private entities” which are considered “public accommodations” for

 4   purposes of this title, which include but are not limited to any “shopping center or other sales or

 5   rental establishment.” 42 USC § 12181(7)(E).

 6           43.     The ADA states that “No individual shall be discriminated against on the basis of

 7   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

 8   or accommodations of any place of public accommodation by any person who owns, leases, or

 9   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

10   prohibitions against discrimination include, but are not limited to the following:

11   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an

12   individual or class of individuals, on the basis of a disability or disabilities of such individual or

13   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

14   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

15   that is not equal to that afforded to other individuals.”

16   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

17   procedures when such modifications are necessary to afford such goods, services, facilities,

18   privileges, advantages, or accommodations to individuals with disabilities...;”

19   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no

20   individual with a disability is excluded, denied service, segregated, or otherwise treated

21   differently than other individuals because of the absence of auxiliary aids and services...;”

22   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

23   are structural in nature, in existing facilities... where such removal is readily achievable;”

24   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause

25   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,

26   advantages, or accommodations available through alternative methods if such methods are readily

27   achievable.”

28   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under
                                                         13
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 1   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.

 2          44.     The removal of each of the physical barriers complained of by Plaintiff as

 3   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards

 4   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one

 5   of the architectural and/or policy barriers complained of herein were already required under

 6   California law. Further, on information and belief, alterations, structural repairs or additions

 7   since January 26, 1993, have also independently triggered requirements for removal of barriers to

 8   access for disabled persons per section 12183 of the ADA. In the event that removal of any

 9   barrier is found to be “not readily achievable,” Defendants still violated the ADA, per

10   section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages and

11   accommodations through alternative methods that were “readily achievable.” In this case, for

12   example, Defendants could provide an accessible portable restroom outside of the store for

13   disabled patrons to use rather than directing them to the inaccessible interior restroom.

14          45.     The ability to use a restroom is a fundamental necessity of accessing and using a

15   store. So too is the ability to enter and exit the facility, and move around the premises unimpeded

16   by barriers to access. Therefore, the benefits of creating a restroom with accessible does not

17   exceed the costs of readily achievable barrier removal. These costs are fundamental to doing

18   business, like any other essential function of operating a store, such as the costs of as ensuring fire

19   safety. It is thus readily achievable to remove these barriers.

20          46.     On information and belief, as of the dates of Plaintiff’s encounters at the premises

21   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have

22   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled

23   persons in other respects, which violate Plaintiff’s right to full and equal access and which

24   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff

25   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and

26   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.

27          47.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by

28   deterring Plaintiff from patronizing Good Year Tire and discriminated and continue to
                                                        14
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 1   discriminate against him on the basis of his disabilities, thus wrongfully denying to Plaintiff the

 2   full and equal enjoyment of Defendants’ goods, services, facilities, privileges, advantages and

 3   accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182. Plaintiff intends

 4   to return to patronize Good Year Tire once barriers to access have been removed.

 5          48.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,

 6   Plaintiff ARTHUR RENOWTIZKY entitled to the remedies and procedures set forth in

 7   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being

 8   subjected to discrimination on the basis of his disabilities in violation of sections 12182 and

 9   12183 of this title. On information and belief, Defendants have continued to violate the law and

10   deny the rights of Plaintiff and other disabled persons to “full and equal” access to this public

11   accommodation since on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)

12          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
            shall include an order to alter facilities to make such facilities readily accessible to
13          and usable by individuals with disabilities to the extent required by this title. Where
            appropriate, injunctive relief shall also include requiring the provision of an
14          auxiliary aid or service, modification of a policy, or provision of alternative
            methods, to the extent required by this title.
15

16          49.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil

17   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to

18   implement the Americans with Disabilities Act of 1990. Plaintiff ARTHUR RENOWITZKY is a

19   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to

20   discrimination on the basis of disability in violation of Title III and who has reasonable grounds

21   for believing he will be subjected to such discrimination each time that he may use the property

22   and premises, or attempt to use Good Year TIre, in light of Defendants’ policies and physical

23   premises barriers.

24          50.     Plaintiff seeks an award of reasonable attorney fees, litigation expenses and costs

25   pursuant to 42 U.C.S section 12205.

26          WHEREFORE, Plaintiff requests relief as outlined below.

27                                                PRAYER

28          Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this
                                                       15
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 1   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the

 2   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless

 3   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and

 4   opposing legal positions as to Defendants’ violations of the laws of the United States and the

 5   State of California. The need for relief is critical because the rights at issue are paramount under

 6   the laws of the United States and the State of California.

 7            WHEREFORE, Plaintiff ARTHUR RENOWITZKY prays for judgment and the

 8   following specific relief against Defendants:

 9            1.    Issue a preliminary and permanent injunction directing Defendants as current

10   owners, operators, lessors, and/or lessees of the subject property and premises to modify the

11   above described property, premises, policies and related facilities to provide full and equal access

12   to all persons, including persons with physical disabilities for use of their facility, including

13   restroom facilities, and including alternate methods of providing restroom facilities if so required;

14   and issue a preliminary and permanent injunction pursuant to ADA section 12188(a) and state

15   law directing Defendants to provide facilities usable by Plaintiff and similarly situated persons

16   with disabilities, and which provide full and equal access, as required by law, and to maintain

17   such accessible facilities once they are provided; to cease any discriminatory policies, and to train

18   Defendants’ employees and agents in how to recognize disabled persons and accommodate their

19   rights and needs;

20            2.    Retain jurisdiction over the Defendants until such time as the Court is satisfied that

21   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically

22   inaccessible public facilities and policies as complained of herein no longer occur, and cannot

23   recur;

24            3.    Award to Plaintiff all appropriate damages, including but not limited to statutory

25   damages and general damages in amounts within the jurisdiction of the Court, all according to

26   proof;

27            4.    Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and

28   costs of this proceeding as provided by law;
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 1          5.     Award prejudgment interest pursuant to Civil Code section 3291; and

 2          6.     Grant such other and further relief as this Court may deem just and proper.

 3   Date: June 7, 2022                                    REIN & CLEFTON

 4                                                            /s/ Aaron Clefton
                                                           By AARON CLEFTON, Esq.
 5                                                         Attorneys for Plaintiff
 6                                                         ARTHUR RENOWIZTKY

 7
                                             JURY DEMAND
 8
            Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
 9

10
     Date: June 7, 2022                                    REIN & CLEFTON
11

12                                                            /s/ Aaron Clefton
                                                           By AARON CLEFTON, Esq.
13
                                                           Attorneys for Plaintiff
14                                                         ARTHUR RENOWITZKY

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